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                     IN THE UNITED STATES DISTRICT COURT

                     DISTRICT OF UTAH, NORTHERN DIVISION



UNITED STATES OF AMERICA,                          Case No. 1:20-CR-00023-HCN

                     Plaintiff,                    MOTION FOR WRIT OF HABEAS
                                                   CORPUS AD PROSEQUENDUM
v.
                                                   District Court Judge Howard C. Nielson,
MARIAH KEISHA BUTLER,                              Jr.

                     Defendant.



       The United States Attorney for the District of Utah respectfully shows this

Honorable Court that the above named defendant, MARIAH KEISHA BUTLER, now

being confined in the Davis County Jail in Farmington, Utah, under the authority of the

state of Utah, is to appear in United States District Court for the District of Utah before

the Honorable Dustin B. Pead, on March 17, 2020, at 2:15 p.m. for an initial appearance

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hearing, and it is necessary that the defendant be present in person on said date, during

proceedings, appearances, and final disposition of the case.

       NOW, THEREFORE, your petitioner respectfully prays that this Honorable Court

to forthwith order a Writ of Habeas Corpus Ad Prosequendum to issue from this Court to

the United States Marshal for the District of Utah, requiring that a Marshal, or any federal

agent, to serve said Writ on the Sheriff, Superintendent, or custodian of any place of

institution where the said defendant is confined, and requiring said Marshal to produce

said defendant before the Court on the above stated date for proceedings and appearances

upon the charge aforesaid, and to hold the defendant at all times in his custody as an agent

of the United States of America until final disposition of the case, thereafter to return the

defendant to the institution wherein now confined.



       DATED this       12th     day of March, 2020.


                                                   JOHN W. HUBER
                                                   United States Attorney


                                                   /s/ Cristina P. Ortega
                                                   CRISTINA P. ORTEGA
                                                   Assistant United States Attorney




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